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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 1:12-cr-00213 AWI-BAM
12                                Plaintiff,               STIPULATION RESETTING
                                                           RESTITUTION HEARING; ORDER
13   v.
                                                           DATE: July 25, 2016
14   CANDACE GONZALES,                                     TIME: 10:00 a.m.
                                                           JUDGE: Hon. Anthony W. Ishii
15                                Defendants.
16

17                                              STIPULATION
18          The United States of America, by and through its counsel of record, and defendant, by and
19
     through her counsel of record, hereby stipulate as follows:
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            1.      Defendant Candace Gonzales was sentenced by the Court on May 9, 2016, following
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     conviction after a guilty plea of one count of conspiracy to commit mail, wire and bank fraud (18
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23 U.S.C. § 1349).

24          2.      Pursuant to 18 U.S.C. § 3664(d)(5), the Court set a hearing on restitution to determine

25 victims’ losses as to the defendant for June 13, 2016 at 10:00 a.m.
26          3.      However, the parties are still attempting to determine the exact amount of restitution,
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     and whether they can reach an agreement and stipulation to the restitution amount owed by
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     defendant Gonzales. To that end, the government has produced supplemental information detailing
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     the victim lenders’ restitution claims, and is in the process of preparing a stipulation regarding
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 3 restitution for the defendant’s review and approval that would obviate the need for a further

 4 restitution hearing. The parties thus request that the restitution hearing be reset to July 25, 2016 at

 5 10:00 a.m. The parties agree that the continuance will conserve time and resources for the parties

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     and the Court.
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            4.        The agreed restitution hearing will take place 57 days after the defendant’s sentencing
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     hearing, which satisfies the deadline set forth in 18 U.S.C. § 3664(d)(5), with a determination of the
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10 amount and apportionment of restitution to take place on or before July 25, 2016.

11 IT IS SO STIPULATED.

12 DATED:             June 9, 2016
                                            /s/ Henry Z. Carbajal III
13                                          HENRY Z. CARBAJAL III
                                            KIRK E. SHERRIFF
14                                          Assistant United States Attorney
15 DATED:             June 9, 2016
                                            /s/David A. Torres
16                                          DAVID A. TORRES
                                            Counsel for Defendant
17                                          CANDACE GONZALES
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19
20                                                  ORDER
21
            IT IS SO FOUND AND ORDERED The restitution hearing regarding defendant Candace
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     Gonzales is reset to July 25, 2016 at 10:00 a.m.
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24 IT IS SO ORDERED.

25 Dated: June 10, 2016
26                                                 SENIOR DISTRICT JUDGE

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